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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:04CR3156
           v.                        )
                                     )
JOE M. DELGADO JR.,                  )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     Defendant’s motion to continue, filing 47, is granted and,

     1. Trial of this matter is continued to 9:00 a.m.,
August 8, 2005, as the first criminal case before the Honorable
Richard G. Kopf in Courtroom 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.
Jury selection will be held at commencement of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between
April 25, 2005 and August 8, 2005 shall be deemed excludable time
in any computation of time under the requirements of the Speedy
Trial Act, for the reason that the parties require additional
time to adequately prepare the case, taking into consideration
due diligence of counsel, the novelty and complexity of the case,
and the fact that the failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).

     DATED this 25th day of April, 2005.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
